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     6jj                            UNITEDSTATESDISTRICT COURT
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     7                                       D IST RICT O F N EVA D A
     8 UNITED STATES OFAMERICA,                          )
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     9!r1                      Plaintiff,                )
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      ..                                         )
    11 IGNACIO GOM EZ-SANCHEZ,avk.a.k:ltickys'' )
        a.kva,CarlosOmar-lflores-Guadalupe,a.k,a )
    12 RobertoParra,                             )
                                                 )
    13.                                          )
                               Defkndant.                )
    l4 '
    15 !                                    O RDER OF FO RFEITURE

    16!i            OnFebruary 10,2011,defendantIGNACIO GOM EZ-SANCHEZ pledguiltytoCountsOne
    171
      I1
       I andTwo ofaTwo-countSupersedingCrim inallnformation charginghim inCountOnewithM oney
      i'
       !
    18jj LaunderingConspiracy'inviolationofTitlel8,UnitedStatesCode,Section l956(a)(1)(A)(i)and(h)
      $p
    19 and charging him in Count Two w ith Conspiracy to D istribute a Controlled Substance

    20 (M ethamphetamine)inviolationofTitle21UnitedStatesCode,Sections841(a)(1)and(b)(1)(B)and
    211 846andagreedtotheforfeitureofpropertysetforthintheForfeitureAllegutionsintheSuperseding
      .

       i criminalInformation.
    22.1

    23j!            ThisCoul'tfindsthatIONACIO GOM EZ-SANCHEZ shallpay acrim inalforfeituremoney
      I!
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  i1judgmentof$200,000i
                      nUnitedStatesCurrcncytotheUnitedStatesofAmerica,pursuanttoFed.R,
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  i'
   ! Crim.P.32.2(b)(l)and(2)'
                            ,Title 18,United StatesCode,Section981(a)(1)(A)andTitle28,United
         i
26 StatesCode,Section2461(c);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,United

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              Case 2:09-cr-00376-GMN-RJJ   Document 66        Filed 02/10/11   Page 2 of 2
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     1I StatesCode,Seution2461(c);Title18,UnitedStatesCode,Section982(a)(1);andTitle21,United
                                                                                                 1
     2 StatesCode,Section853(a)(l),(a)(2),and(p).                                                !
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     3              THEREFO RE,IT IS H ER EBY OR DER ED ,AD JUD G ED ,A N D DECREED thattheunited '

     4j; Statesrecoverfrom IGNACIO GOMEZ-SANCHEZ acriminaltbrtkituremoneyjudgmentinthe
     5 mnountof$200,000 in United StatesCurrenc  y.
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